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Senate President Stephen M. Sweeney and
Assembly Speaker Craig J. Coughlin


                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 AMERICANS FOR PROSPERITY,                   Civil Action No. 3:19-CV-14228

                     Plaintiff,              Hon..Brian R. Martinotti, U.S.D.J.

        v.
                                             NOTICE OF MOTION
                                             TO INTERVENE PURSUANT TO
 GUBRIR GREWAL, in his official              FED. R. CIV. PRO. 24(b) BY
 capacity as Attorney General of New         INTERVENOR-APPLICANTS
 Jersey, et al,                              SENATE PRESIDENT STEPHEN M.
                                             SWEENEY AND ASSEMBLY SPEAKER
                     Defendants.             CRAIG J. COUGHLIN

                                             Return Date: November 4, 2019
                                             Oral argument requested


To:   Kevin H. Marino, Esq.
      John A. Boyle, Esq
      Marino, Tortorella & Boyle, P.C.
      437 Southern Boulevard
      Chatham, NJ 07928
      Attorneys for Plaintiff

      Stuart M. Feinblatt, A.A.G.
      Office of Attorney General
      Dept. of Law & Public Safety
      25 W. Market Street
      P.O. Box 080
      Trenton, New Jersey 08625
      Attorney for Defendant

      PLEASE TAKE NOTICE that on November 4, 2019 at 9:00 a.m. or as soon thereafter

as counsel may be heard, Intervenor-Applicants, Senate President Stephen M. Sweeney and
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Assembly Speaker Craig J. Coughlin, by and through their counsel Cullen and Dykman LLP

(Leon J. Sokol, Esq., appearing), shall move before the Hon. .Brian R. Martinotti, U.S.D.J., at

the United Stated District Court for the District of New Jersey, Clarkson S. Fisher Federal

Building & U.S. Courthouse, 402 East State Street, Trenton, New Jersey, for an Order granting

Intervenor-Applicants’ Motion to Intervene pursuant to Fed. R. Civ. Pro. 24(b).

       PLEASE TAKE FURTHER NOTICE that in support of this Motion Intervenor-

Applicants will rely on the accompanying Affirmation of Leon J. Sokol, Esq. (including

proposed Answer of Intervener-Applicants) and Memorandum of Law.

       PLEASE TAKE FURTHER NOTICE that oral argument is respectfully requested on

the return date only if the within motion is opposed.

       A proposed form of order is submitted herewith.

                                                        Respectfully submitted,

Dated: October 10, 2019                                 /s/ Leon J. Sokol
                                                        Leon J. Sokol
                                                        CULLEN AND DYKMAN, LLP
                                                        433 Hackensack Avenue
                                                        Hackensack, NJ 07601
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                                                        Assembly Speaker Craig J. Coughlin
